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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


EVANS F. SON, JR,                                )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              ) Case No.: 4:07CV299DDN
                                                 )
SUSAN LORETTA THOMAS AND                         )
WESTERN EXPRESS INC.,                            )
                                                 )
       Defendants.                               )



                                STIPULATION FOR DISMISSAL

       IT IS HEREBY STIPULATED by and between Plaintiff and Defendant that all claims and

causes of action against all parties shall be dismissed with prejudice, with each party to bear his/its

own court costs.



/S/ Thomas C. DeVoto                                   /S/ Daniel T. Rabbitt
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